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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

 UNITED STATES SECURITIES              §
 AND EXCHANGE COMMISSION,              §
                                       §
            Plaintiff,                 §
                                       §
                     v.                §
                                       §
 THE HEARTLAND GROUP VENTURES, LLC;    §
 HEARTLAND PRODUCTION AND RECOVERY §
 LLC; HEARTLAND PRODUCTION AND         §
 RECOVERY FUND LLC; HEARTLAND          §
 PRODUCTION AND RECOVERY FUND II LLC; §
 THE HEARTLAND GROUP FUND III, LLC;    §
 HEARTLAND DRILLING FUND I, LP; CARSON §
 OIL FIELD DEVELOPMENT FUND II, LP;    §
 ALTERNATIVE OFFICE SOLUTIONS, LLC;    §
 ARCOOIL CORP.; BARRON PETROLEUM       §
 LLC; JAMES IKEY; JOHN MURATORE;       §
 THOMAS BRAD PEARSEY; MANJIT SINGH     §                  No. 4-21CV-1310-O-BP
 (AKA ROGER) SAHOTA; and RUSTIN        §
 BRUNSON,                              §
                                       §
            Defendants,                §
                                       §
                                       §
                     and               §
                                       §
 DODSON PRAIRIE OIL & GAS LLC; PANTHER §
 CITY ENERGY LLC; MURATORE FINANCIAL §
 SERVICES, INC.; BRIDY IKEY; ENCYPHER  §
 BASTION, LLC; IGROUP ENTERPRISES LLC; §
 HARPRIT SAHOTA; MONROSE SAHOTA;       §
 SUNNY SAHOTA; BARRON ENERGY           §
 CORPORATION; DALLAS RESOURCES INC.;   §
 LEADING EDGE ENERGY, LLC; SAHOTA      §
 CAPITAL LLC; and 1178137 B.C. LTD.,   §
                                       §
            Relief Defendants.         §
                                       §
                                       §


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      NOTICE OF HEARING AND SERVICE OF COURT ORDER RESETTING
 HEARING ON RECEIVER’S MOTION TO CONFIRM RECEIVER HAS NO RIGHT,
 OBLIGATION, OR INTEREST TO OPERATE THE PALO PINTO PIPELINE, OR, IN
    THE ALTERNATIVE, TO ABANDON ANY INTEREST IN THE PALO PINTO
     PIPELINE [ECF NO. 288] AND RECEIVER’S APPLICATION TO EMPLOY
  BANKRUPTCY MANAGEMENT SOLUTIONS INC. D/B/A STRETTO AS CLAIMS
                 AND DISBURSEMENT AGENT [ECF NO. 302]

PLEASE TAKE NOTICE OF THE FOLLOWING MATTER:

         Deborah D. Williamson, in her capacity as the Court-appointed Receiver (the “Receiver”)

for the Receivership Parties (as defined in the Receivership Order) and the receivership estates

(collectively, the “Receivership Estates”) in the above-captioned case (the “Case”), hereby files

this Notice of Hearing and Service of Court Order Resetting Hearing on Receiver’s Motion To

Confirm Receiver Has No Right, Obligation, Or Interest To Operate The Palo Pinto Pipeline, Or,

In The Alternative, To Abandon Any Interest In The Palo Pinto Pipeline [ECF No. 288] and

Receiver’s Application To Employ Bankruptcy Management Solutions Inc. D/B/A Stretto As

Claims And Disbursement Agent [ECF No. 302] (the “Notice”), which is filed as a result of this

Court’s January 30, 2023 Order [ECF No. 309] (the “Order”). The Order reset the January 31,

2023 hearing to Thursday, February 9, 2023, at 1:30 p.m. Central and requires the Receiver to

serve a copy of the Order on “all unrepresented parties and interested persons”. The Receiver files

this Notice in compliance with the Order. Attached to this Notice as Exhibit A is a copy of the

Order.




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Dated: January 30, 2023                  Respectfully submitted,

                                         By: /s/ Danielle N. Rushing
                                            Danielle N. Rushing
                                            State Bar No. 24086961
                                            drushing@dykema.com
                                            DYKEMA GOSSETT PLLC
                                            112 East Pecan Street, Suite 1800
                                            San Antonio, Texas 78205
                                            Telephone: (210) 554-5500
                                            Facsimile: (210) 226-8395

                                            and

                                            Rose L. Romero
                                            State Bar No. 17224700
                                            Rose.Romero@RomeroKozub.com
                                            LAW OFFICES OF ROMERO | KOZUB
                                            235 N.E. Loop 820, Suite 310
                                            Hurst, Texas 76053
                                            Telephone: (682) 267-1351

                                            COUNSEL TO RECEIVER




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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 30, 2023, the foregoing document was served via CM/ECF
on all parties appearing in this case and on the following unrepresented parties on this Court’s
docket and interested persons via email:

       Mark A. Steinbach
       mark.steinbach@oag.texas.gov

       Fabiana Baum, Esq.
       fbaum@pulf.com

       James Ikey
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       IGroup Enterprises LLC
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       John Muratore
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       Muratore Financial Services, Inc.
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     Manjit Singh (aka Roger) Sahota
     Harprit Sahota
     Monrose Sahota
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     Sunny Sahota
     sunnysanangelo@gmail.com


                                           /s/ Danielle N. Rushing
                                           Danielle N. Rushing




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                                EXHIBIT A




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES SECURITIES AND                    §
EXCHANGE COMMISSION,                            §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §     Civil Action No. 4:21-cv-01310-O-BP
                                                §
THE HEARTLAND GROUP                             §
VENTURES, LLC, et al.,                          §
                                                §
       Defendants.                              §

                                             ORDER

       The Court RESETS the hearing on Movant John Rogers’s Motion to Lift Stay (ECF No.

272), Receiver’s Motion to Confirm Receiver has no Right, Obligation, or Interest to Operate the

Palo Pinto Pipeline, or, in the Alternative, to Abandon Any Interest in the Palo Pinto Pipeline (ECF

No. 288), and Receiver’s Application to Employ Bankruptcy Management Solutions Inc. d/b/a

Stretto as Claims and Disbursement Agent (ECF No. 302), to February 9, 2023, at 1:30 p.m. in

courtroom 501, Eldon B. Mahon United States Courthouse, 501 West 10th Street, Fort

Worth, Texas, 76102.

       The Receiver SHALL transmit a copy of this Order to all unrepresented parties and

interested persons, including, but not limited to, Fabiana Baum, Esq., counsel for John Rogers, and

Assistant Attorney General Mark A. Steinbach, counsel for the Railroad Commission of Texas.

The Receiver thereafter SHALL file proof of such transmission.

       It is so ORDERED on January 30, 2023.


                                                 ______________________________________
                                                 Hal R. Ray, Jr.
                                                 UNITED STATES MAGISTRATE JUDGE
